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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Baltimore Division)
DEBORAH LAUFER
Plaintiff
V. : CASE NO. 1:20-CV-1326-GLR

JAYESH DESAI

Defendant

ANSWER TO AMENDED COMPLAINT

The Defendant, Jayesh Desai, by and through his attorney, David J. Baines, in accordance
with the Federal Rules of Civil Procedure, hereby answers the Plaintiff's Amended Complaint,
and each and every allegation thereof, as follows:

INTRODUCTION

Defendant generally denies the allegations contained in the Plaintiff's introduction and

demands strict proof thereof.
PARTIES
1. Defendant is without sufficient knowledge to either admit or deny the allegations
contained in paragraph 1 of the Amended Complaint; therefore, those allegations are denied.
2. Defendant is without sufficient knowledge to either admit or deny the allegations
contained in paragraph 2 of the Amended Complaint; therefore, those allegations are denied.
3, Defendant denies the allegations contained in paragraph 3 of the Amended Complaint.
JURISDICTION

4. Defendant admits the allegations contained in paragraph 4 of the Amended Complaint.
9.

10.

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Defendant admits the allegations contained in paragraph 5 of the Amended Complaint.
ANSWERS

Defendant denies the allegations contained in paragraph 6 of the Amended Complaint.

Defendant admits the allegations contained in paragraph 7 of the Amended Complaint.

Defendant admits the allegations contained in paragraph 8 of the Amended Complaint.

Defendant denies the allegations contained in paragraph 9 of the Amended Complaint.

Defendant denies the allegations contained in paragraph 10 and its subparts of the

Amended Complaint.

11.

Defendant is without sufficient knowledge to either admit or deny the allegations

contained in paragraph 11 of the Amended Complaint; therefore, those allegations are denied.

12.

Defendant is without sufficient knowledge to either admit or deny the allegations

contained in paragraph 12 of the Amended Complaint; therefore, those allegations are denied.

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Defendant denies the allegations contained in paragraph 13 of the Amended Complaint.
Defendant denies the allegations contained in paragraph 14 of the Amended Complaint.
Defendant denies the allegations contained in paragraph 15 of the Amended Complaint.
Defendant denies the allegations contained in paragraph 16 of the Amended Complaint.
Defendant denies the allegations contained in paragraph 17 of the Amended Complaint.
Defendant denies the allegations contained in paragraph 18 of the Amended Complaint.
Defendant denies the allegations contained in paragraph 19 of the Amended Complaint.
Defendant denies the allegations contained in paragraph 20 of the Amended Complaint.

Having fully answered all the material allegations in each and every paragraph of the

Amended Complaint, the Defendant also sets forth the following specific defenses:
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lL.
Plaintiff has failed to set forth a claim upon which relief can be granted.
Plaintiff has failed to name the proper Defendant.

I.

Plaintiff has failed to set forth a legal basis for entitlement to the relief requested under
the Americans with Disabilities Act.
Il.

Plaintiffs claims are barred by the following affirmative defenses:

a. Failure to exhaust administrative remedies.

b. Failure to comply with 42 U.S.C.A. § 2000a-3.

c. Statute of limitations.

IV.

Defendant reserves the right to raise such other defenses as are warranted by facts revealed
in discovery.

WHEREFORE, Defendant respectfully requests that the United States District Court for
the District of Maryland dismiss Plaintiff's claims in their entirety and/or grant judgment in the

Defendants’ favor and grant such other and further relief as justice requires.
Respectfully submitted,

/s/ David J. Baines

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Attorney for Defendant
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CERTIFICATES

I HEREBY CERTIFY, that on this 21% day of September, 2020, a copy of the foregoing
was filed via the Federal Court’s electronic case filing system on:

Tristan W. Gillespie
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/s/ David J. Baines
David J. Baines, Federal Bar No. 21428

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